Case 1:19-cv-21597-JEM Document 1 Entered on FLSD Docket 04/25/2019 Page 1 of 14


                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF FLORIDA

   MANUEL FENTE JR, individually and on behalf of                            CLASS ACTION
   all others similarly situated,

         Plaintiff,                                                    JURY TRIAL DEMANDED

   vs.

   AVENTURA CJ, LLC d/b/a AVENTURA
   CHRYSLER JEEP DODGE RAM,

     Defendant.
   ______________________________________/

                                       CLASS ACTION COMPLAINT

             1.       Plaintiff, Manuel Fente Jr. (“Plaintiff”), brings this action against Defendant,

  Aventura CJ, LLC d/b/a Aventura Chrysler Jeep Dodge Ram (“Defendant”), to secure redress for

  violations of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227.

                                          NATURE OF THE ACTION

             2.       This is a putative class action pursuant to the Telephone Consumer Protection Act, 47

  U.S.C. § 227 et seq., (the “TCPA”), arising from Defendant’s knowing and willful violations of the

  TCPA.

             3.       Defendant is an automotive dealership that sells vehicles for individuals and businesses.

  To promote its services, Defendant engages in unsolicited marketing, harming thousands of consumers

  in the process.

             4.       This case arises from Defendant’s unauthorized text messages and calls to cellular

  subscribers who never provided Defendant with prior express consent, as well as cellular

  subscribers who expressly requested not to receive Defendant’s text messages.
Case 1:19-cv-21597-JEM Document 1 Entered on FLSD Docket 04/25/2019 Page 2 of 14


          5.      As a result, Defendant caused thousands of text messages and calls to be sent to the

  cellular telephones of Plaintiff and Class Members who either never provided Defendant with consent

  to contact them or who had revoked any prior express consent.

          6.      Defendant caused Plaintiff and Class Members injuries, including invasion of their

  privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion.

          7.      Through this action, Plaintiff seeks injunctive relief to halt Defendant’s illegal conduct.

  Plaintiff also seeks statutory damages on behalf of himself and Class Members, as defined below, and

  any other available legal or equitable remedies resulting from the illegal actions of Defendants.

                                      JURISDICTION AND VENUE

          8.      Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

  statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national class,

  which will result in at least one class member belonging to a different state than that of Defendant.

  Plaintiff seeks up to $1,500.00 (one-thousand-five-hundred dollars) in damages for each call, in

  violation of the TCPA, which, when aggregated among a proposed class numbering in the tens of

  thousands, or more, exceeds the $5,000,000.00 (five-million dollars) threshold for federal court

  jurisdiction under the Class Action Fairness Act (“CAFA”). Therefore, both the elements of diversity

  jurisdiction and CAFA jurisdiction are present.

          9.      Venue is proper in the United States District Court for the Southern District of Florida

  pursuant to 28 U.S.C. § 1391(b) and (c) because Defendant is deemed to reside in any judicial district

  in which it is subject to the court’s personal jurisdiction, and because Defendant provides and markets

  its services within this district thereby establishing sufficient contacts to subject it to personal

  jurisdiction. Further, Defendant’s tortious conduct against Plaintiff occurred within the State of Florida

  and, on information and belief, Defendant has sent the same text messages complained of by Plaintiff

  to other individuals within this judicial district, such that some of Defendant’s acts in making such calls

  have occurred within this district, subjecting Defendant to jurisdiction in the State of Florida.
Case 1:19-cv-21597-JEM Document 1 Entered on FLSD Docket 04/25/2019 Page 3 of 14


                                                 PARTIES

            10.   Plaintiff is a natural person who, at all times relevant to this action, was a resident of

  Miami-Dade County, Florida.

            11.   Defendant is a Delaware corporation whose principal office is located at 2198 NE 163rd

  Street, North Miami, Florida 33162. Defendant directs, markets, and provides its business activities

  throughout the State of Florida.

                                                THE TCPA

            12.   The TCPA prohibits: (1) any person from calling a cellular telephone number; (2) using

  an automatic telephone dialing system; (3) without the recipient’s prior express consent. 47 U.S.C. §

  227(b)(1)(A).

            13.   The TCPA defines an “automatic telephone dialing system” (“ATDS”) as “equipment

  that has the capacity - (A) to store or produce telephone numbers to be called, using a random or

  sequential number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1).

            14.   In an action under the TCPA, a plaintiff must only show that the defendant “called a

  number assigned to a cellular telephone service using an automatic dialing system or prerecorded

  voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755

  F.3d 1265 (11th Cir. 2014).

            15.   The Federal Communications Commission (“FCC”) is empowered to issue rules and

  regulations implementing the TCPA. According to the FCC’s findings, calls in violation of the TCPA

  are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater

  nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and

  inconvenient. The FCC also recognized that wireless customers are charged for incoming calls whether

  they pay in advance or after the minutes are used. Rules and Regulations Implementing the Telephone

  Consumer Protection Act of 1991, CG Docket No. 02-278, Report and Order, 18 FCC Rcd 14014

  (2003).
Case 1:19-cv-21597-JEM Document 1 Entered on FLSD Docket 04/25/2019 Page 4 of 14


          16.     In 2012, the FCC issued an order tightening the restrictions for automated telemarketing

  calls, requiring “prior express written consent” for such calls to wireless numbers. See In the Matter of

  Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830, 1838 ¶ 20

  (Feb. 15, 2012) (emphasis supplied).

          17.     To obtain express written consent for telemarketing calls, a defendant must establish

  that it secured the plaintiff’s signature in a form that gives the plaintiff a “‘clear and conspicuous

  disclosure’ of the consequences of providing the requested consent….and having received this

  information, agrees unambiguously to receive such calls at a telephone number the [plaintiff]

  designates.” In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R.

  1830, 1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C. Feb. 15, 2012).

          18.     The TCPA regulations promulgated by the FCC define “telemarketing” as “the

  initiation of a telephone call or message for the purpose of encouraging the purchase or rental of, or

  investment in, property, goods, or services.” 47 C.F.R. § 64.1200(f)(12). In determining whether a

  communication constitutes telemarketing, a court must evaluate the ultimate purpose of the

  communication. See Golan v. Veritas Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

          19.     “Neither the TCPA nor its implementing regulations ‘require an explicit mention of a

  good, product, or service’ where the implication of an improper purpose is ‘clear from the context.’”

  Id. (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012)).

          20.     “‘Telemarketing’ occurs when the context of a call indicates that it was initiated and

  transmitted to a person for the purpose of promoting property, goods, or services.” Golan, 788 F.3d at

  820 (citing 47 C.F.R. § 64.1200(a)(2)(iii); 47 C.F.R. § 64.1200(f)(12); In re Rules and Regulations

  Implementing the Telephone Consumer Protection Act of 1991, 18 F.C.C. Rcd at 14098 ¶ 141, 2003

  WL 21517853, at *49).

          21.     The FCC has explained that calls motivated in part by the intent to sell property, goods,

  or services are considered telemarketing under the TCPA.            See In re Rules and Regulations
Case 1:19-cv-21597-JEM Document 1 Entered on FLSD Docket 04/25/2019 Page 5 of 14


  Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶¶ 139-142 (2003).

  This is true whether call recipients are encouraged to purchase, rent, or invest in property, goods, or

  services during the call or in the future. Id.

            22.   In other words, offers “that are part of an overall marketing campaign to sell

  property, goods, or services constitute” telemarketing under the TCPA. See In re Rules and

  Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶ 136

  (2003).

            23.   If a call is not deemed telemarketing, a defendant must nevertheless demonstrate that it

  obtained the plaintiff’s prior express consent. See In the Matter of Rules and Regulaions Implementing

  the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (2015) (requiring express consent

  “for non-telemarketing and non-advertising calls”).

            24.   Further, the FCC has issued rulings and clarified that consumers are entitled to the same

  consent-based protections for text messages as they are for calls to wireless numbers. See Satterfield v.

  Simon & Schuster, Inc., 569 F.3d 946, 952 (9th Cir. 2009) (The FCC has determined that a text message

  falls within the meaning of “to make any call” in 47 U.S.C. § 227(b)(1)(A)); Toney v. Quality Res., Inc.,

  2014 WL 6757978, at *3 (N.D. Ill. Dec. 1, 2014) (Defendant bears the burden of showing that it

  obtained Plaintiff's prior express consent before sending him the text message). (emphasis added).

            25.   As recently held by the United States Court of Appeals for the Ninth Circuit:

  “Unsolicited telemarketing phone calls or text messages, by their nature, invade the privacy and disturb

  the solitude of their recipients. A plaintiff alleging a violation under the TCPA ‘need not allege any

  additional harm beyond the one Congress has identified.’” Van Patten v. Vertical Fitness Grp., No.

  14-55980, 2017 U.S. App. LEXIS 1591, at *12 (9th Cir. May 4, 2016) (quoting Spokeo, Inc. v.

  Robins, 136 S. Ct. 1540, 1549 (2016) (emphasis original)).
Case 1:19-cv-21597-JEM Document 1 Entered on FLSD Docket 04/25/2019 Page 6 of 14


                                                   FACTS

          26.     On or about April 2019, Defendant sent a call to Plaintiff’s cellular telephone number

  ending in 7633 (the “7633 Number”).

          27.     Plaintiff verbally told Defendant that he was no longer in the market for a car and for

  Defendant to take him off the call list and stop calling.

          28.     Despite Plaintiff’s communication to opt-out, Defendant ignored Plaintiff’s opt-out

  demand and sent Plaintiff a telemarketing text message.

          29.     On or about April 25, 2019, Defendant sent the following telemarketing text message

  to Plaintiff’s cellular telephone number ending in 7633:
Case 1:19-cv-21597-JEM Document 1 Entered on FLSD Docket 04/25/2019 Page 7 of 14


          30.     Defendant’s text messages were transmitted to Plaintiff’s cellular telephone, and within

  the time frame relevant to this action.

          31.     Defendant’s text messages constitute telemarketing because they encouraged the future

  purchase or investment in property, goods, or services, i.e., selling Plaintiff an automobile.

          32.     The information contained in the text message advertises Defendant’s “Huge specials,”

  which Defendant sends to promote its business.

          33.     Plaintiff received the subject texts within this judicial district and, therefore, Defendant’s

  violation of the TCPA occurred within this district. Upon information and belief, Defendant caused

  other text messages to be sent to individuals residing within this judicial district.

          34.     At no point in time did Plaintiff provide Defendant with his express written consent to

  be contacted using an ATDS.

          35.     To the extent that Defendant had express consent to contact Plaintiff using an

  ATDS, that consent was expressly revoked when Plaintiff communicated his opt-out request to

  Defendant.

          36.     Plaintiff is the subscriber and sole user of the 7633 Number, and is financially

  responsible for phone service to the 7633 Number.

          37.     The impersonal and generic nature of Defendant’s text message demonstrates that

  Defendant utilized an ATDS in transmitting the messages. See Jenkins v. LL Atlanta, LLC, No. 1:14-

  cv-2791-WSD, 2016 U.S. Dist. LEXIS 30051, at *11 (N.D. Ga. Mar. 9, 2016) (“These assertions,

  combined with the generic, impersonal nature of the text message advertisements and the use of a short

  code, support an inference that the text messages were sent using an ATDS.”) (citing Legg v. Voice

  Media Grp., Inc., 20 F. Supp. 3d 1370, 1354 (S.D. Fla. 2014) (plaintiff alleged facts sufficient to infer

  text messages were sent using ATDS; use of a short code and volume of mass messaging alleged would

  be impractical without use of an ATDS); Kramer v. Autobytel, Inc., 759 F. Supp. 2d 1165, 1171 (N.D.

  Cal. 2010) (finding it "plausible" that defendants used an ATDS where messages were advertisements
Case 1:19-cv-21597-JEM Document 1 Entered on FLSD Docket 04/25/2019 Page 8 of 14


  written in an impersonal manner and sent from short code); Hickey v. Voxernet LLC, 887 F. Supp. 2d

  1125, 1130; Robbins v. Coca-Cola Co., No. 13-CV-132-IEG NLS, 2013 U.S. Dist. LEXIS 72725, 2013

  WL 2252646, at *3 (S.D. Cal. May 22, 2013) (observing that mass messaging would be impracticable

  without use of an ATDS)).

          38.     The text messages originated from telephone number 305-570-2886, a number which

  upon information and belief is owned and operated by Defendant.

          39.     The number used by Defendant (305-570-2886) is known as a “long code,” a standard

  10-digit phone number that enabled Defendant to send SMS text messages en masse, while deceiving

  recipients into believing that the message was personalized and sent from a telephone number operated

  by an individual.

          40.     Long codes work as follows: Private companies known as SMS gateway providers

  have contractual arrangements with mobile carriers to transmit two-way SMS traffic. These SMS

  gateway providers send and receive SMS traffic to and from the mobile phone networks' SMS centers,

  which are responsible for relaying those messages to the intended mobile phone. This allows for the

  transmission of a large number of SMS messages to and from a long code.

          41.     Specifically, the text message does not identify the intended recipient by name nor

  provide any identifiable characteristic of the intended recipient. Instead the text message is drafted

  so that it can be sent out en masse without variation.

          42.     Specifically, upon information and belief, Defendant utilized a combination of hardware

  and software systems to send the text messages at issue in this case. The systems utilized by Defendant

  have the capacity to store telephone numbers using a random or sequential generator, and to dial such

  numbers without human intervention.

          43.     Defendant’s unsolicited text messages caused Plaintiff actual harm, including invasion

  of his privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion. Defendant’s

  text messages also inconvenienced Plaintiff and caused disruption to his daily life.
Case 1:19-cv-21597-JEM Document 1 Entered on FLSD Docket 04/25/2019 Page 9 of 14


                                         CLASS ALLEGATIONS

          PROPOSED CLASS

          44.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

  himself and all others similarly situated.

          45.     Plaintiff brings this case on behalf of a Class defined as follows:

                  No Consent Class: All persons within the United States who,
                  within the four years prior to the filing of this Complaint, were
                  sent a text message using the same type of equipment used to
                  text message Plaintiff, from Defendant or anyone on
                  Defendant’s behalf, to said person’s cellular telephone number,
                  without their express consent.

                  Revocation Class: All persons within the United States who,
                  within the four years prior to the filing of this Complaint, were
                  sent a text message using the same type of equipment used to
                  text message Plaintiff, from Defendant or anyone on
                  Defendant’s behalf, to said person’s cellular telephone number
                  after making a request to Defendant to not receive future text
                  messages.


          46.     Defendant and its employees or agents are excluded from the Class. Plaintiff does not

  know the number of members in the Class but believes the Class members number in the several

  thousands, if not more.

          NUMEROSITY

          47.     Upon information and belief, Defendant has placed automated and/or prerecorded calls

  to cellular telephone numbers belonging to thousands of consumers throughout the United States

  without their prior express consent. The members of the Class, therefore, are believed to be so numerous

  that joinder of all members is impracticable.

          48.     The exact number and identities of the Class members are unknown at this time and can

  only be ascertained through discovery. Identification of the Class members is a matter capable of

  ministerial determination from Defendant’s call records.
Case 1:19-cv-21597-JEM Document 1 Entered on FLSD Docket 04/25/2019 Page 10 of 14


           COMMON QUESTIONS OF LAW AND FACT

          49.     There are numerous questions of law and fact common to the Class which predominate

  over any questions affecting only individual members of the Class. Among the questions of law and

  fact common to the Class are:

                       (1) Whether Defendant made non-emergency calls to Plaintiff’s and Class

                           members’ cellular telephones using an ATDS;

                       (2) Whether Defendant can meet its burden of showing that it obtained prior

                           express written consent to make such calls;

                       (3) Whether Defendant’s conduct was knowing and willful;

                       (4) Whether Defendant is liable for damages, and the amount of such damages; and

                       (5) Whether Defendant should be enjoined from such conduct in the future.

          50.     The common questions in this case are capable of having common answers. If Plaintiff’s

  claim that Defendant routinely transmits text messages to telephone numbers assigned to cellular

  telephone services is accurate, Plaintiff and the Class members will have identical claims capable of

  being efficiently adjudicated and administered in this case.

                TYPICALITY

          51.     Plaintiff’s claims are typical of the claims of the Class members, as they are all based

  on the same factual and legal theories.

                PROTECTING THE INTERESTS OF THE CLASS MEMBERS

          52.     Plaintiff is a representative who will fully and adequately assert and protect the interests

  of the Class and has retained competent counsel. Accordingly, Plaintiff is an adequate representative

  and will fairly and adequately protect the interests of the Class.

                PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

          53.     A class action is superior to all other available methods for the fair and efficient

  adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is
Case 1:19-cv-21597-JEM Document 1 Entered on FLSD Docket 04/25/2019 Page 11 of 14


  economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the

  Class are in the millions of dollars, the individual damages incurred by each member of the Class

  resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

  lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

  and, even if every member of the Class could afford individual litigation, the court system would be

  unduly burdened by individual litigation of such cases.

            54.   The prosecution of separate actions by members of the Class would create a risk of

  establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For example,

  one court might enjoin Defendant from performing the challenged acts, whereas another may not.

  Additionally, individual actions may be dispositive of the interests of the Class, although certain class

  members are not parties to such actions.

                                              COUNT I
                             Violations of the TCPA, 47 U.S.C. § 227(b)
                               (On Behalf of Plaintiff and the Class)


            55.   Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth

  herein.

            56.   It is a violation of the TCPA to make “any call (other than a call made for

  emergency purposes or made with the prior express consent of the called party) using any

  automatic telephone dialing system … to any telephone number assigned to a … cellular telephone

  service ….” 47 U.S.C. § 227(b)(1)(A)(iii).

            57.   Defendant – or third parties directed by Defendant – used equipment having the

  capacity to dial numbers without human intervention to make non-emergency telephone calls to

  the cellular telephones of Plaintiff and the other members of the Class defined below.

            58.   These calls were made without regard to whether or not Defendant had first

  obtained express permission from the called party to make such calls. In fact, Defendant did not
Case 1:19-cv-21597-JEM Document 1 Entered on FLSD Docket 04/25/2019 Page 12 of 14


  have prior express consent to call the cell phones of Plaintiff and the other members of the putative

  Class as prior express consent was either never obtained or was revoked at the time Defendant’s

  calls were made.

          59.      Defendant has, therefore, violated § 227(b)(1)(A)(iii) of the TCPA by using an

  automatic telephone dialing system to make non-emergency telephone calls to the cell phones of

  Plaintiff and the other members of the putative Class without their prior express written consent.

          60.      Defendant knew that it did not have prior express consent to make these calls, and

  knew or should have known that it was using equipment that at constituted an automatic telephone

  dialing system. The violations were therefore willful or knowing.

          61.      As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the TCPA,

  Plaintiff and the other members of the putative Class were harmed and are each entitled to a

  minimum of $500.00 in damages for each violation. Plaintiff and the class are also entitled to an

  injunction against future calls. Id.

          WHEREFORE, Plaintiff, Manuel Fente Jr., on behalf of himself and the other members

  of the Class, pray for the following relief:

                a. A declaration that Defendant’s practices described herein violate the Telephone

                   Consumer Protection Act, 47 U.S.C. § 227;

                a. An injunction prohibiting Defendant from using an automatic telephone dialing

                   system to text message telephone numbers assigned to cellular telephones without

                   the prior express permission of the called party;

                c. An award of actual and statutory damages; and

                d. Such further and other relief the Court deems reasonable and just.

                                            COUNT II
                  Knowing and/or Willful Violation of the TCPA, 47 U.S.C. § 227(b)
                              (On Behalf of Plaintiff and the Class)
Case 1:19-cv-21597-JEM Document 1 Entered on FLSD Docket 04/25/2019 Page 13 of 14


          62.      Plaintiff re-allege and incorporate paragraphs 1-54 as if fully set forth herein.

          63.      At all times relevant, Defendant knew or should have known that its conduct as

  alleged herein violated the TCPA.

          64.      Defendant knew that it did not have prior express consent to make these calls and

  knew or should have known that its conduct was a violation of the TCPA.

          65.      Because Defendant knew or should have known that Plaintiff and Class Members

  had not given prior express consent to receive its autodialed calls or had revoked their consent at

  the time Defendant’s calls were made, the Court should treble the amount of statutory damages

  available to Plaintiff and the other members of the putative Class pursuant to § 227(b)(3) of the

  TCPA.

          66.      As a result of Defendant’s violations, Plaintiff and the Class Members are entitled

  to an award of $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.

  § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

          WHEREFORE, Plaintiff, Manuel Fente Jr., on behalf of himself and the other members

  of the Class, pray for the following relief:

                a. A declaration that Defendant’s practices described herein violate the Telephone

                   Consumer Protection Act, 47 U.S.C. § 227;

                b. An injunction prohibiting Defendant from using an automatic telephone dialing

                   system to call and text message telephone numbers assigned to cellular telephones

                   without the prior express permission of the called party;

                c. An award of actual and statutory damages; and

                d. Such further and other relief the Court deems reasonable and just.

                                            JURY DEMAND

           Plaintiff and Class Members hereby demand a trial by jury.
Case 1:19-cv-21597-JEM Document 1 Entered on FLSD Docket 04/25/2019 Page 14 of 14



  Dated: April 25, 2019

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